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                                                        8   TKG Management, Inc. and Pincay RE, LLC
                                                        9
                                                                                 UNITED STATES DISTRICT COURT
                                                      10
                                                                                CENTRAL DISTRICT OF CALIFORNIA
                                                      11
                                                      12
                                                            TKG Management, Inc., a Missouri        Case No. 2:19-cv-10986-AB-AS
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                                                      13    Corporation, and Pincay RE, LLC, a
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                                                            Delaware Limited Liability Company,     JOINT RULE 26(F) REPORT
                                                      14
                                                                                      Plaintiffs,   Judge:        Andre Birotte Jr.
                                                      15
                                                            v.                                      Date:      July 17, 2020
                                                      16                                            Time:      10:00 a.m.
                                                            Chubb Custom Insurance Company and      Courtroom: 7B
                                                      17    Chubb North America,
                                                      18                            Defendants.
                                                      19
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                                                        1           Plaintiffs TKG Management, Inc. (“TKG”) and Pincay RE, LLC (“Pincay”)
                                                        2   (collectively, “Plaintiffs”) and Defendants Chubb Custom Insurance (“Chubb”)
                                                        3   and Chubb North America (collectively, “Defendants,” and Defendants and
                                                        4   Plaintiffs collectively, the “Parties”), by and through their undersigned counsel,
                                                        5   hereby submit this Joint Rule 26(f) Report in advance of the Scheduling
                                                        6   Conference currently set for July 17, 2020 in this matter and address the matters
                                                        7   outlined in the Court’s March 13, 2020 Order Setting Scheduling Conference [ECF
                                                        8   No. 25] as follows:
                                                        9           A.      Statement of the Case
                                                      10                    1.    Plaintiffs’ Statement of the Case
                                                      11            Chubb sold TKG an Environmental Insurance Policy (the “Policy”), with $5
                                                      12    million limits, that covered, inter alia, “clean-up costs” from a “pollution incident”
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                                                      13    or “illicit abandonment.” Among the Policy’s covered sites was a parcel owned by
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                                                      14    Pincay (the “Pincay Property”), an additional insured under the Policy. The Pincay
                                                      15    Property is one of multiple properties that form SoFi Stadium and Hollywood Park,
                                                      16    the future home of the Los Angeles Rams and Los Angeles Chargers and a major
                                                      17    entertainment destination (the “Stadium Project”).           The Pincay Property,
                                                      18    previously a parking lot, will be used as a parking lot that supports the stadium,
                                                      19    which will predominantly be on 238 acres land adjoining the Pincay Property.
                                                      20            After Chubb issued the Policy and added Pincay and the Pincay Property,
                                                      21    elevated concentrations of arsenic were detected at the site.         Local officials
                                                      22    required the Pincay Property be remediated in conformity with a Soil Management
                                                      23    Plan that had been implemented at adjoining parcels; Plaintiffs spent more than
                                                      24    $17 million in remediating the Pincay Property. Plaintiffs tendered a claim under
                                                      25    the Policy, and Chubb initially indicated that it would honor its obligations and pay
                                                      26    reasonable remediation costs. Thereafter, however, Chubb and its claims adjuster
                                                      27    and administrator, Chubb North America, backtracked and have paid only a small
                                                      28    fraction ($432,606) of the $5 million limits due under the Policy.
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                                                        1           Since reversing position, Defendants have embarked on a campaign to delay
                                                        2   and impede recovery and drive up Plaintiffs’ costs. Defendant’s tactics include
                                                        3   (but are not limited to) claiming that the arsenic at the site was naturally occurring
                                                        4   (despite concentrations dozens of times higher than ambient amounts), claiming
                                                        5   coverage did not exist because the Pincay Property had experienced a change in
                                                        6   use (even though the property was, and will continue to be, a parking lot), and
                                                        7   claiming that Plaintiffs’ remediation costs were not covered because they
                                                        8   voluntarily incurred (which is not true, but even if it were, the Policy’s coverage
                                                        9   extends to voluntary cleanup programs established pursuant to law or regulation).
                                                      10    In short, Defendants have gone to great lengths to deprive Plaintiffs of the Policy’s
                                                      11    benefits and have not acted in good faith in doing so.
                                                      12                    2.   Chubb’s Statement of the Case
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                                                      13            The Chubb Environmental Liability Policy covers only “reasonable and
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                                                      14    necessary costs” “required by environmental laws” to restore a covered property
                                                      15    to regulatory compliance consistent with its use at the time when added to
                                                      16    coverage. The vast majority of costs TKG seeks from Chubb as “clean up costs”
                                                      17    were not “necessary” in order to effectuate this purpose. Rather, TKG seeks to
                                                      18    recover costs voluntarily incurred for the near site-wide excavation of the Pincay
                                                      19    Property; costs that were not necessary to enable the property to continue in its
                                                      20    then use as a parking lot, but instead were in furtherance of TKG’s business
                                                      21    interests as a developer and as such not covered under the Policy.
                                                      22            Chubb has paid roughly $430,000 to TKG as reimbursement for remediation
                                                      23    of arsenic-related “hot spots” that conservatively might have been necessary for the
                                                      24    Pincay Property’s continued use as a parking lot or “vacant ground” as described in
                                                      25    TKG’s application. TKG voluntarily committed itself to compliance with the Soil
                                                      26    Management Plan for the neighboring Hollywood Park site—no regulatory
                                                      27    authority sought implementation of the Plan until TKG requested it. TKG made
                                                      28    that request as part of its contractual agreement with the City of Inglewood before
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                                                        1   the site was added to the Policy, thus excluding it from coverage.
                                                        2           Further, the Policy’s Changes In Use Or Operations exclusion bars coverage
                                                        3   for that portion of cleanup-related costs incurred by TKG resulting from the Pincay
                                                        4   Property’s change in use from an asphalt paved parking lot to a multi-use
                                                        5   entertainment/NFL stadium complex. TKG could have left the existing parking
                                                        6   lot’s asphalt surface intact, which provided an effective barrier to the release of any
                                                        7   hazardous materials to the environment with minimal to no remediation. TKG’s
                                                        8   argument that there is no change in use is counterfactual and requires accepting
                                                        9   that TKG incurred in excess of $15 million to “make a parking lot a parking lot.”
                                                      10    In fact, TKG improved the pre-existing parking lot by an unnecessary—and
                                                      11    uninsured—site-wide soil management project to enable the property’s changed
                                                      12    use, including the situating of a part of the stadium on the Pincay Property itself.
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                                                      13            B.      Subject Matter Jurisdiction
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                                                      14            Subject matter jurisdiction is not in dispute among the Parties. Complete
                                                      15    diversity of citizenship exists between Plaintiffs and Defendants, and the amount in
                                                      16    controversy exceeds $75,000, exclusive of interest and costs. This Court therefore
                                                      17    has jurisdiction pursuant to 28 U.S.C. Section 1332.
                                                      18            C.      Legal Issues
                                                      19            The key issues in this case will largely revolve around the interpretation and
                                                      20    construction of the Policy as follows:
                                                      21                 • Whether the arsenic at the Pincay Property was the result of an
                                                      22    “environmental incident,” “pollution incident,” and/or “illicit abandonment,” as
                                                      23    those phrases are used in the Policy;
                                                      24                 • If there was a “pollution incident” and/or “illicit abandonment,”
                                                      25    whether it was first discovered in whole or in part during the policy period under
                                                      26    such circumstances that coverage under the Policy was triggered;
                                                      27                 • Whether any of the exclusions to coverage apply to the arsenic
                                                      28    contamination at the Pincay Property;
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                                                        1               • Whether the amounts expended by Plaintiffs represent reimbursable
                                                        2   “clean-up costs,” as that phrase is used in the Policy; and
                                                        3               • Whether the amounts expended by Plaintiffs for “remediation” of the
                                                        4   Pincay Property were “reasonable and necessary,” as those phrases are used in the
                                                        5   Policy.
                                                        6   The above represents a combined list prepared by the Parties; perhaps
                                                        7   unsurprisingly, the Parties do not necessarily agree that each of the above
                                                        8   identified issues should in fact be in dispute. Further, the Parties are likely to
                                                        9   disagree as to the extent to which these issues can be adjudicated short of a trial by
                                                      10    jury.
                                                      11            If coverage is found to exist under the Policy, the damages (including
                                                      12    prejudgment interest) needed to compensate Plaintiffs will need to be confirmed.
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                                                      13    Chubb disputes that pre-judgment interest accrued during the duration of the
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                                                      14    tolling agreements entered into at TKG’s behest. Likewise, if coverage is found to
                                                      15    exist under the Policy, the following will need to be determined: (1) whether
                                                      16    Defendants’ denial of coverage and refusal to reimburse remediation costs
                                                      17    represented a breach of the covenant of good faith and fair dealing, and (2) if so,
                                                      18    the damages stemming from such a breach. Even if coverage is found to exist
                                                      19    under the Policy, Chubb’s position is that its interpretation of the Policy was fairly
                                                      20    debatable and therefore, its handling of the claim is not in bad faith.
                                                      21            During their Rule 26(f) conference, the Parties agreed that the substance of
                                                      22    this dispute does not present any substantive, procedural, or evidentiary issues that
                                                      23    are unusual to this type of case. However, the Parties note that the potential scope
                                                      24    of the evidence in the case is expansive. For example, Plaintiffs maintain that the
                                                      25    Parties’ course of dealing is relevant to various of the determinations that need to
                                                      26    be made in this case, and such course of dealing extends to numerous properties, as
                                                      27    suggested by sheer number of insured entities and properties identified in the
                                                      28    Policy (see, e.g., ECF No. 24-1 at 46-68). Similarly, substantial quantities of
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                                                        1   information relating to portions of the Stadium Project outside of the Pincay
                                                        2   Property that extend back more than a decade may be introduced to support or
                                                        3   counter various contentions that have been raised.
                                                        4           D.         Parties, Evidence, Etc.
                                                        5           Parties. The Parties are TKG Management, Inc.; Pincay RE, LLC; Chubb
                                                        6   Custom Insurance; and Chubb North America. Chubb maintains that “Chubb
                                                        7   North America” is not a legal entity with the capacity to sue or be sued and is
                                                        8   instead a brand or trade name that is not properly-named as a defendant. The
                                                        9   Parties have discussed this issue and intend to further meet and confer to see if it
                                                      10    can be resolved with minimal Court involvement.
                                                      11            Percipient Witnesses. To date, the Parties have identified the following
                                                      12    individuals as potential percipient witness in this matter:
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                                                      13                 1.          Alexandra Galovich
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                                                      14                 2.          Amanda Pope
                                                      15                 3.          Ashlee Llewellyn
                                                      16                 4.          Ceasar C. Ricasata
                                                      17                 5.          Chris Holmquist
                                                      18                 6.          Chris Rogers
                                                      19                 7.          Cinah Daqiq
                                                      20                 8.          Don Hennen
                                                      21                 9.          Douglas Moreland
                                                      22                 10.         Elizabeth Davidson
                                                      23                 11.         Gerard McCallum
                                                      24                 12.         Gregg Crandall
                                                      25                 13.         Gina Kinney
                                                      26                 14.         Gloria Chacon
                                                      27                 15.         Henry Donis
                                                      28                 16.         Hiram Wastson
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                                                        1               17.     James D. Yoon
                                                        2               18.     Jami A. Striegel Orloff
                                                        3               19.     Janice Thacher
                                                        4               20.     Jason Gannon
                                                        5               21.     Jerry L. Gray
                                                        6               22.     Juresha Alemayehu
                                                        7               23.     Kathryn L. Wuelfing
                                                        8               24.     Kenneth Simeon
                                                        9               25.     Michael McKown
                                                      10                26.     Nikki DeRousse
                                                      11                27.     Peter Gabrek
                                                      12                28.     Reed McMains
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                                                      13                29.     Samuel Cronin
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                                                      14                30.     Samuel Unger
                                                      15                31.     Sarah J. Gastler
                                                      16                32.     Steven Alabach
                                                      17                33.     Zachary Salin
                                                      18                34.     Chubb Designated Underwriting Representative(s)
                                                      19                35.     Chubb Designated Claims Representative(s)
                                                      20                36.     The Kroenke Group, TKG Management, Inc., and/or Pincay
                                                                                Re, LLC Corporate Designee(s)
                                                      21
                                                      22            Key Documents. The most important document in the case is the Policy.

                                                      23    Other key materials identified to date include (but are not necessarily limited to)

                                                      24    documents regarding the negotiation and procurement of the Policy, Defendants’

                                                      25    claim file for the Pincay Property, Defendants’ underwriting files for various

                                                      26    properties related to TKG, documents relating to the Parties’ course of dealing,

                                                      27    documents regarding Defendants’ practices in handling environmental claims, and

                                                      28    documents relating to the Soil Management Plan, communications between
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                                                        1   representatives for TKG and the local officials, TKG communications (internal and
                                                        2   external) regarding the Stadium Development Plan, due diligence surrounding that
                                                        3   project, and the acquisition of the Pincay Property.
                                                        4           Subsidiaries, Parents, and Affiliates. Plaintiffs’ owners were identified in
                                                        5   their December 31, 2019 Certification and Notice of Interested Parties [ECF No.
                                                        6   3], a copy of which is attached hereto as Exhibit A for the Court’s reference.
                                                        7   TKG’s owner has ownership interests in numerous business entities globally that
                                                        8   include a substantial network of entities created for various reasons, the
                                                        9   overwhelming majority of which have no interest in or connection to this lawsuit.
                                                      10    In an effort to provide the Court with the pertinent subsidiary, parent, and affiliate
                                                      11    information, Exhibit A includes a list of Plaintiffs’ subsidiaries and affiliates
                                                      12    involved in the Stadium Project.
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                                                      13            Defendants’ subsidiaries, parents, and affiliates were identified in
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                                                      14    Defendants’ January 28, 2020 Certification and Notice of Interested Parties [ECF
                                                      15    No. 10], a copy of which is attached hereto as Exhibit B for the Court’s reference.
                                                      16            E.      Damages
                                                      17            Plaintiffs claim damages of $4,567,394, plus prejudgment interest at a rate
                                                      18    of 10% per annum. Plaintiffs also seek attorneys’ fees incurred in pursuing the
                                                      19    benefits of the Policy to which they were entitled, pursuant to Brandt v. Superior
                                                      20    Court, 37 Cal. 3d 813 (1985), plus punitive damages in the event of a finding of
                                                      21    malice, fraud, or oppression.
                                                      22            F.      Insurance
                                                      23            As an insurance coverage dispute, “[w]hether there is insurance coverage
                                                      24    [and] the extent of coverage” is the fundamental disagreement between the Parties.
                                                      25    Plaintiffs contend that there is coverage and that they are entitled to the $5 million
                                                      26    limit of the Policy, among other relief. Defendants disagree with those positions.
                                                      27            G.      Motions
                                                      28            The Parties do not, at this point, anticipate any motions to add parties or
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                                                        1   claims, amend pleadings, or transfer venue. Defendants are considering a motion
                                                        2   to bifurcate the determination of coverage under the Policy from Plaintiffs’ bad
                                                        3   faith claim. Plaintiffs will likely oppose such a motion.
                                                        4           H.      Dispositive Motions
                                                        5           Chubb anticipates that it will file summary judgment motions relating to
                                                        6   whether the arsenic contamination at the Pincay Property constitutes an
                                                        7   “environmental incident,” “pollution incident,” and/or “illicit abandonment,” as
                                                        8   those phrases are used in the Policy, whether the sums expended by Plaintiffs for
                                                        9   “remediation” were “reasonable and necessary,” as that phrase is used in the
                                                      10    Policy, and whether one or more of the exclusions to coverage in the Policy applies
                                                      11    here.
                                                      12            I.      Manual for Complex Litigation
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                                                      13            The Parties do not believe that the Manual for Complex Litigation need be
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                                                      14    utilized in this matter.
                                                      15            J.      Status of Discovery
                                                      16            The Parties have served initial sets of broad document requests. The Parties
                                                      17    have started meet and confer efforts regarding the scope of the documents to be
                                                      18    produced in response to those requests, as well as documents potentially being
                                                      19    produced before others in an effort to streamline the case.
                                                      20            K.      Discovery Plan
                                                      21            The Parties believe that the non-privileged documents that will be produced
                                                      22    in response to their respective document requests will include and extend well
                                                      23    beyond the materials that would be identified in, or produced in connection with,
                                                      24    their Rule 26 initial disclosures.      Accordingly, the Parties propose that the
                                                      25    disclosures be changed to remove the identification of documents, thus allowing
                                                      26    the Parties to avoid unnecessary duplication of effort. The Parties further propose
                                                      27    that initial disclosures be due at the same time they are to respond to each other’s
                                                      28    first set of document requests, which would be July 24, 2020.
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                                                      1           The Parties’ document requests reflect the subjects on which each of the
                                                      2   Parties maintains discovery is necessary, including (but not limited to) the
                                                      3   negotiation and procurement of the Policy, Defendants’ Claim File for the Pincay
                                                      4   Property, Defendants’ Underwriting Files for various TKG policies, the Parties’
                                                      5   course of dealing, Defendants’ practices when handling environmental claims,
                                                      6   communications with local regulatory officials, and documents relating to the
                                                      7   development, submission, approval, and augmentation of the Soil Management
                                                      8   Plan.
                                                      9           The Parties have discussed potentially phasing discovery in this matter, but
                                                     10   no agreement has been reached as to a proposal to be submitted to the Court.
                                                     11   Further, at this point, the Parties have not identified any issues relating to
                                                     12   electronically stored information, have not identified any issues relating to claims
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                                                     13   of privilege or work product protection, and are not requesting any changes to the
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                                                     14   limitations on discovery outside of the proposed changes to the Parties’ initial
                                                     15   disclosures proposed above.
                                                     16           L.      Discovery Cut-Off
                                                     17           As reflected in the Schedule of Pretrial and Trial Dates attached hereto as
                                                     18   Exhibit C and subject to the issues raised in Subsection S (“Other Issues”) below,
                                                     19   the Parties propose a non-expert discovery cut-off of February 12, 2021.
                                                     20           M.      Expert Discovery
                                                     21           As reflected in the Schedule of Pretrial and Trial Dates attached hereto as
                                                     22   Exhibit C and subject to the issues raised in Subsection S (“Other Issues”) below,
                                                     23   the Parties propose initial expert disclosures on January 11, 2021; rebuttal expert
                                                     24   disclosures on February 12, 2021; and an expert discovery cut-off of March 19,
                                                     25   2021.
                                                     26           N.      Settlement Conference/Alternative Dispute Resolution
                                                     27           The Parties participated in a mediation in August 2019. The mediation was
                                                     28   not successful, but the Parties have been engaged in further discussions with the
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                                                      1   mediator, including as recently as the week before this filing. To the extent that
                                                      2   Court intends to require that the Parties participate in further ADR proceedings, the
                                                      3   Parties’ preference is for the matter to be referred to private mediation.
                                                      4           O.      Trial Estimate
                                                      5           The Parties currently estimate a trial of 10 court days. Trial will be by jury.
                                                      6   Plaintiffs estimate calling between 6 and 10 witnesses.          Defendants estimate
                                                      7   calling between 6 and 10 witnesses. For work product reasons, the Parties are not
                                                      8   prepared to exchange their witness lists yet, so it is likely that the Parties’ lists
                                                      9   substantially overlap.
                                                     10           P.      Trial Counsel
                                                     11           Plaintiffs’ trial counsel is expected to be Anthony B. Leuin, John J. Stein,
                                                     12   and Felicia A. Draper of Shartsis Friese LLP. Defendants’ trial counsel is expected
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                                                     13   to be Adam Stein, Terri A. Sutton, and Mark A. Talise (local counsel only) of
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                                                     14   Cozen O’Connor.
                                                     15           Q.      Independent Expert or Master
                                                     16           The Parties do not believe that an independent expert or master should be
                                                     17   appointed at this time.
                                                     18           R.      Schedule Worksheet
                                                     19           A Schedule of Pretrial and Trial Dates is attached hereto as Exhibit C. All
                                                     20   dates listed therein are agreed to among the Parties, subject to the “Other Issues”
                                                     21   identified below in Subsection S.
                                                     22           S.      Other Issues
                                                     23           During their Rule 26(f) conference, the Parties identified the following
                                                     24   issues to bring to the Court’s attention.
                                                     25                   1.   Effect of Ongoing Health Crisis
                                                     26           The document productions in this case, which are likely to involve the
                                                     27   extensive course of dealing between Plaintiffs and Defendants and substantial
                                                     28   portions of the history of the Stadium Project, will probably be voluminous.
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                                                      1   Potential percipient witnesses are spread out over various locations, including
                                                      2   Southern California, Northern California, Missouri, and locations on the East
                                                      3   Coast.     Plaintiffs’ counsel is located in Northern California, and Defendants’
                                                      4   counsel includes attorneys practicing out of New York, Seattle, San Francisco, and
                                                      5   Los Angeles.
                                                      6            In developing the schedule discussed in Exhibit C, the Parties have been
                                                      7   guided by the Court’s statement that the trial date should be within 18 months of
                                                      8   the filing of the Complaint. Under the best of circumstances, such a schedule
                                                      9   would be aggressive, particularly given the scope of the case, location of evidence
                                                     10   and witnesses, the fact that the Parties agreed to extend the time to respond to
                                                     11   Complaint to allow for additional settlement discussions, and the fact that
                                                     12   Defendants responded to the Complaint with a Counterclaim in March 2020.
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                                                     13   However, the ongoing health crisis and consistently evolving challenges and
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                                                     14   restrictions on travel and gatherings could make what would otherwise be a typical
                                                     15   schedule unworkable.
                                                     16            Should the Parties’ concerns be realized, they intend to seek relief from the
                                                     17   Court at that point. Nevertheless, the Parties believed it would be appropriate and
                                                     18   helpful to identify this possibility for the Court in advance of the Scheduling
                                                     19   Conference.
                                                     20                   2.   Phasing the Litigation
                                                     21            The Parties’ Schedule of Pretrial and Trial Dates, attached hereto as Exhibit
                                                     22   C, assumes that this litigation will not be phased in any way. The Parties are
                                                     23   exploring ways to phase the case to streamline the litigation -- e.g., complete
                                                     24   certain discovery so that any dispositive motions can be filed and ruled upon
                                                     25   relatively early in the case. Should the Parties reach agreement on a strategy for
                                                     26   phasing the litigation that would require alteration of the Court’s scheduling order,
                                                     27   they will submit a request for the Court’s consideration.
                                                     28
                                                                                                    - 11 -
                                                          Case No. 2:19-cv-                JOINT RULE 26(F) REPORT
                                                          10986-AB-AS
                                              Case 2:19-cv-10986-AB-AS Document 28 Filed 07/02/20 Page 13 of 20 Page ID #:377


                                                      1                   3.   Telephonic Appearance at the Scheduling Conference
                                                      2           The Parties recognize that the Court often takes the Scheduling Conference
                                                      3   off calendar and issues an order based solely on the Joint Rule 26(f) Report. To
                                                      4   the extent there is a hearing, the Parties have submitted a joint request to appear
                                                      5   telephonically due to the ongoing health crisis [ECF No. 27].
                                                      6   Dated: July 2, 2020              SHARTSIS FRIESE LLP
                                                      7
                                                      8
                                                                                           By:                /s/ Anthony B. Leuin
                                                      9                                                      ANTHONY B. LEUIN
                                                     10                                    Attorneys for Plaintiffs
                                                                                           TKG Management, Inc. and Pincay RE, LLC
                                                     11
                                                          Dated: July 2, 2020              COZEN O’CONNOR
                                                     12
                      SAN FRANCISCO, CA 94111-3598




                                                     13
SHARTSIS FRIESE LLP
                          ONE MARITIME PLAZA
                           EIGHTEENTH FLOOR




                                                                                           By:                      /s/ Terri Sutton
                                                     14                                                            TERRI SUTTON
                                                     15                                    Attorneys for Defendants Chubb Custom Insurance
                                                                                           and Chubb North America
                                                     16
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                                                          Case No. 2:19-cv-              JOINT RULE 26(F) REPORT
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          EXHIBIT A
            Case 2:19-cv-10986 Document
       Case 2:19-cv-10986-AB-AS Document328Filed 12/31/19
                                              Filed 07/02/20Page 1 of
                                                              Page  151ofPage ID #:17
                                                                         20 Page   ID #:379
 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
 OR OF PARTY APPEARING IN PRO PER
 SHARTSIS FRIESE LLP
 ANTHONY B. LEUIN (Bar #95639)
 JOHN J. STEIN (Bar #253777)
 FELICIA A. DRAPER (Bar #242668)
 SHARTSIS FRIESE LLP
 ONE MARITIME PLAZA, EIGHTEENTH FLOOR
 SAN FRANCISCO, CA 94111

 ATTORNEY(S) FOR:    TKG Management Inc. and Pincay RE, LLC
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
TKG Management Inc., a Missouri Corp., and                                     CASE NUMBER:

Pincay RE, LLC, a Delaware Limited Liability Co.,
                                                              Plaintiff(s),
                                     v.
Chubb Custom Insurance Company and Chubb
                                                                                              CERTIFICATION AND NOTICE
North America,
                                                                                                OF INTERESTED PARTIES
                                                             Defendant(s)                           (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                     TKG Management Inc. and Pincay RE, LLC
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                     PARTY                                                           CONNECTION / INTEREST
Pincay RE Member, LLC                                                         100% owner of Pincay RE, LLC

E. Stanley Kroenke                                                            100% owner of TKG Management Inc. and Pincay RE
                                                                              Member, LLC




         December 30, 2019                                 /s/ Anthony B. Leuin
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Anthony B. Leuin


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
Case 2:19-cv-10986-AB-AS Document 28 Filed 07/02/20 Page 16 of 20 Page ID #:380
 TKG Management Inc., et al. v. Chubb Custom Insurance Co., et al.
 Case No. 2:19-cv-10986-AB-AS
 Exhibit A to Joint Rule 26(f) Report

    1. Data Co LA Member, LLC
    2. Hollywood Park Management Company LLC
    3. Horseman Investors, LLC
    4. Horseman Investors II, LLC
    5. HP DistrictCo LA Member, LLC
    6. KSE Stadco Members, LLC
    7. LA Bowl, LLC
    8. ParkingCo LA Member, LLC
    9. Performance Venue Member, LLC
    10. TechCo LA Member, LLC
Case 2:19-cv-10986-AB-AS Document 28 Filed 07/02/20 Page 17 of 20 Page ID #:381




          EXHIBIT B
          Case
        Case    2:19-cv-10986-JPR Document
             2:19-cv-10986-AB-AS  Document28
                                           10 Filed
                                              Filed07/02/20
                                                    01/28/20 Page
                                                             Page18
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                                                                                    #:382

 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
 OR OF PARTY APPEARING IN PRO PER
 Teri Mae Rutledge, SBN 261229
 Cozen O’Connor, 101 Montgomery Street, Suite 1400
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 New York, NY 100006
 Telephone: 212-453-3728
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 999 Third Avenue, Suite 1900
 Seattle, WA 98104
 Telephone: 206-224-1272

 ATTORNEY(S) FOR: Defendants Chubb Custom Insurance Company and Chubb North
 America

                                                      UNITED STATES DISTRICT COURT
                                                     CENTRAL DISTRICT OF CALIFORNIA
                                                                                   CASE NUMBER:


TKG Management, Inc., a Missouri Corporation, and Pincay RE, LLC, a               2:19-cv-10986-JPR
Delaware Limited Liability Company,
                                                                  Plaintiff(s),
                                               v.
Chubb Custom Insurance Company and Chubb North America,
                                                                 Defendant(s)                     CERTIFICATION AND NOTICE
                                                                                                   OF INTERESTED PARTIES
                                                                                                        (Local Rule 7.1-1)

TO:        THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for Defendants Chubb Custom Insurance Company and Chubb North
America,
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                                      PARTY                                                CONNECTION / INTEREST
Chubb Custom Insurance Company                                                             Wholly-owned subsidiary of Executive Risk Indemnity
                                                                                           Inc., which is a wholly-owned subsidiary of Chubb INA
                                                                                           Holdings Inc. Chubb INA Holdings Inc. is owned 80%
                                                                                           by Chubb Group Holdings Inc. and 20% by Chubb
                                                                                           Limited. Chubb Group Holdings Inc. is a wholly-owned
                                                                                           subsidiary of Chubb Limited, the ultimate parent and the
                                                                                           only publicly-traded company
Chubb North America                                                                        Brand or trade name for the business unit that carries out
                                                                                           insurance business in North America, and not a legal
                                                                                           entity
January 28, 2020                                             /s/ Teri Mae Rutledge
Date                                                         Signature

                                                             Attorney of record for Defendants

                                                             Chubb Custom Insurance Company and Chubb North America


CV-30 (05/13)                                             NOTICE OF INTERESTED PARTIES
Case 2:19-cv-10986-AB-AS Document 28 Filed 07/02/20 Page 19 of 20 Page ID #:383




          EXHIBIT C
Case 2:19-cv-10986-AB-AS Document 28 Filed 07/02/20 Page 20 of 20 Page ID #:384
                                         JUDGE ANDRÉ BIROTTE JR
                             SCHEDULE OF PRETRIAL AND TRIAL DATES WORKSHEET
                  Please complete this worksheet jointly and file it with your Joint Rule 26(f) Report.
                     The Court ORDERS the parties to make every effort to agree on dates.
     Case No. 2:19-cv-10986-AB-AS         Case Name:      TKG Management Inc., et al. v. Chubb Custom Insurance Company. et al.



                  Trial and Final Pretrial Conference Dates                      Pl(s)’ Date         Def(s)’ Date        Court Order
                                                                                 mm/dd/yyyy          mm/dd/yyyy          mm/dd/yyyy

     Check one: [ ] Jury Trial or [ ] Court Trial                                                                       [ ] Jury Trial
     (Tuesday at 8:30 a.m., within 18 months after Complaint filed)                                                     [ ] Court Trial
                         10
     Estimated Duration: _______  Days                                          06/29/2021         06/29/2021
                                                                                                                        _______Days
     Final Pretrial Conference (“FPTC”) [L.R. 16], Hearing on Motions
     In Limine
     (Friday at 11:00 a.m., at least 17 days before trial)                      06/11/2021         06/11/2021



                             Event 1                                 Weeks       Pl(s)’ Date         Def(s)’ Date        Court Order
          Note: Hearings shall be on Fridays at 10:00 a.m.           Before      mm/dd/yyyy          mm/dd/yyyy          mm/dd/yyyy
              Other dates can be any day of the week.                FPTC

     Last Date to Hear Motion to Amend Pleadings/Add Parties
     [Friday]                                                                   08/21/2020         08/21/2020

     Non-Expert Discovery Cut-Off
     (no later than deadline for filing dispositive motion)             17      02/12/2021         02/12/2021

     Expert Disclosure (Initial)                                                01/11/2021         01/11/2021


     Expert Disclosure (Rebuttal)                                               02/12/2021         02/12/2021

     Expert Discovery Cut-Off                                           122     03/19/2021         03/19/2021

     Last Date to Hear Motions [Friday]                                           03/19/2021        03/19/2021
      • Rule 56 Motion due at least 5 weeks before hearing
      • Opposition due 2 weeks after Motion is filed                    12
      • Reply due 1 week after Opposition is filed
     Deadline to Complete Settlement Conference [L.R. 16-15]                    04/02/2021          04/02/2021
      Select one: [ ] 1. Magistrate Judge (with Court approval)                                                         [ ] 1. Mag. J.
                  [ ] 2. Court’s Mediation Panel                        10                                              [ ] 2. Panel
                  [ ] 3. Private Mediation                                                                              [ ] 3. Private

     Trial Filings (first round)                                                  05/21/2021         05/21/2021
      • Motions in Limine
      • Memoranda of Contentions of Fact and Law [L.R. 16-4]
      • Witness Lists [L.R. 16-5]
      • Joint Exhibit List [L.R. 16-6.1]
      • Joint Status Report Regarding Settlement                         3
      • Proposed Findings of Fact and Conclusions of Law
        [L.R. 52] (court trial only)
      • Declarations containing Direct Testimony, if ordered
        (court trial only)
     Trial Filings (second round)                                               05/28/2021          05/28/2021
      • Oppositions to Motions In Limine
      • Joint Proposed Final Pretrial Conference Order
         [L.R. 16-7]
      • Joint/Agreed Proposed Jury Instructions (jury trial only)
      • Disputed Proposed Jury Instructions (jury trial only)
      • Joint Proposed Verdict Forms (jury trial only)                   2
      • Joint Proposed Statement of the Case (jury trial only)
      • Proposed Additional Voir Dire Questions, if any (jury
        trial only)
      • Evidentiary Objections to Decls. of Direct Testimony
        (court trial only)
 1    The parties may seek dates for additional events by filing a separate Stipulation and Proposed Order. Class
      actions and patent and ERISA cases in particular may need to vary from the above.
 2    The parties may wish to consider cutting off expert discovery prior to the deadline for filing an MSJ.
